Filed 04/13/16                                     Case 15-14228                                               Doc 95


                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF CALIFORNIA
                                        CIVIL MINUTE ORDER


    Case Title :         Oscar Gutierrez                                    Case No : 15−14228 − B − 13
                                                                               Date : 04/13/2016
                                                                               Time : 01:30

    Matter :             [21] − Motion for Relief from Automatic Stay Filed by Creditor Carlos Garcia (Fee Paid
                         $176) (eFilingID: 5697015) (msam)


    Judge :              Rene Lastreto II                       Courtroom Deputy : Jennifer Dauer
    Department :         B                                              Reporter : NOT RECORDED


    APPEARANCES for :
    Movant(s) :
    None
    Respondent(s) :
    None


                                               CIVIL MINUTE ORDER


    Based on the status report filed by the plaintiff in the related adversary proceeding,

    IT IS ORDERED that this matter is continued to May 25, 2016, at 1:30 p.m., in Department B, Courtroom
    13, Fifth Floor, U.S. Courthouse, 2500 Tulare Street, Fresno, California, to be heard with the continued
    status conference. The court adopts the previous U.S.C. § 362(e) findings.




                 Apr 13, 2016
Filed 04/13/16                                    Case 15-14228                                             Doc 95


    This document does not constitute a certificate of service. The parties listed below will be served a
    separate copy of the attached Civil Minute Order.


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